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10
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11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12

13   UNITED STATES OF AMERICA,                  No. CR 19-282-RGK

14             Plaintiff,                       [PROPOSED] ORDER ISSUING CIVIL
                                                CONTEMPT SANCTIONS TO DEFENDANTS
15                   v.                         FOR FAILURE TO APPEAR AT INITIAL
                                                APPEARANCE
16   ZHONGTIAN LIU ET AL.,

17             Defendants.

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20        Having reviewed the government’s Motion for Certification of
21   Facts and Issuance of an Order to Show Cause and the evidence
22   submitted in connection with the Motion (Dkts. 52-53), the Magistrate
23   Court’s Order and Certification of Facts (Dkt. 55), and having
24   presided over the Order to Show Cause Hearing in this matter on
25   September 12, 2019, the COURT HEREBY FINDS:
26        1.    Defendants Perfectus Aluminium Inc., also known as
27   “Perfectus Aluminum Inc.,” Perfectus Aluminum Acquisitions, LLC, and
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 1   Scuderia Development, LLC (“defendants”) were properly served under

 2   Federal Rule of Criminal Procedure 4 with summonses to appear before

 3   the United States District Court to answer to an Indictment on August

 4   26, 2019, at 2:00 p.m. at the United States Courthouse at 255 E.

 5   Temple Street, Los Angeles, California, 90012.         The summonses were

 6   served on defendants via certified mail to the defendants’ registered

 7   agents for service of process, or in the case of Scuderia

 8   Development, LLC, to an officer, between August 3, 2019, and August

 9   6, 2019.

10        2.    None of the aforementioned defendants appeared for their

11   initial appearances at the Roybal Federal Building, 255 East Temple

12   Street, Los Angeles, California, in Courtroom 341, on August 26,

13   2019, at 2:00 p.m., notwithstanding the summonses to appear in that

14   place and on that date and time.

15        3.    On September 4, 2019, the government filed a motion for

16   certification of facts and issuance of an order to show cause. (Dkts.

17   52-53.)

18        4.    On September 9, 2019, the Magistrate Court ordered

19   defendants to show cause in writing why they should not be adjudged

20   in contempt by 12:00 p.m. on September 11, 2019, and appear before

21   the District Court at 10:00 a.m. on September 12, 2019, for a show

22   cause hearing.    (Dkt. 55.)

23        5.    The government served the Magistrate Court’s order (Dkt.

24   55) to defendants’ registered agent for service of process on

25   September 10, 2019.

26        6.    To date, defendants have failed to state in writing why

27   they should not be adjudged in contempt, and they failed to appear at

28   the September 12, 2019, show cause hearing.
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 1         7.     The government has shown by clear and convincing evidence

 2   that defendants have violated a court order by failing to appear for

 3   their initial appearances.

 4         Accordingly, the COURT HEREBY ORDERS:

 5         1.     Defendants shall each pay a civil contempt sanction of

 6   $2000 per calendar day, payable to the Court, until defendants

 7   schedule and appear before the Court for arraignment on the

 8   Indictment.

 9         2.     The civil contempt sanctions against defendants shall start

10   to accrue two calendars days after the date of entry of this Order.

11         3.     If defendants have not scheduled and appeared before the

12   Court for arraignment on the Indictment four weeks after the civil

13   contempt sanctions ordered herein have begun to accrue, the civil

14   contempt sanctions shall increase to $4000 per calendar day for each

15   defendant.

16         4.     The government may petition the Court for interim judgments

17   reflecting the accrued sanctions to be due, payable, and subject to

18   immediate collection upon entry of such interim judgments.

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 1        5.    The government may petition the Court to increase the daily

 2   civil contempt sanction for each defendant if the fine ordered is not

 3   sufficiently coercive to obtain defendants’ compliance with their

 4   obligations to schedule and appear for their arraignments on the

 5   Indictment.

 6        IT IS SO ORDERED.

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 8
     September 19, 2019
 9   DATE                                   HONORABLE R. GARY KLAUSNER
                                            UNITED STATES DISTRICT JUDGE
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     Presented by:
11
          /s/
12   ROGER A. HSIEH
     Assistant United States Attorney
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